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                    American Express Centurion Bank
                    P.O. Box 297804
                    Ft. Lauderdale, FL 33329-7804




                    Chase VISA
                    P.O. Box 15298
                    Wilmington, DE 19850-5298




                    Internal Revenue Service
                    Andover, MA 05501-0102




                    Massachusetts Department of Revenue
                    100 Cambridge Street
                    P.O. Box 9494
                    Boston, MA 02214


                    US Department of Education
                    P.O. Box 530260
                    Atlanta, GA 30353-0260




                    Law Office of Wendy Manz
                    5 Militia Drive
                    Lexington, MA 02421
                    Case 07-12085                   Doc 1
                                                    Filed 04/06/07 Entered 04/06/07 15:17:27 Desc Main
Official Form 1 (10/06)                               Document     Page 2 of 39
                                   United States Bankruptcy Court                         Voluntary Petition
                                      District of Massachusetts
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Brookins Santelises, Sonja
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
   Sonja Brookins
 Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,             Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one,
 state all):                                                                                     state all):
   6191
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   700 Huron Avenue #7D
   Cambridge, MA
                                                            ZIP CODE          02138                                                                           ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
 Middlesex
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
   Same
                                                            ZIP CODE          Same                                                                            ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                         Nature of Business                                Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)
                                                                  Health Care Business
                                                                                                                                  the Petition is Filed (Check one box)
                       (Check one box.)
                                                                  Single                                               Chapter 7                           Chapter 15 Petition for
      Individual (includes Joint Debtors)
                                                                          Asset Real Estate as defined in 11
                                                                                                                        Chapter 9                            Recognition of a Foreign

                                                                  Railroad                                        
                                                                   U.S.C. § 101(51B)                                                                          Main Proceeding
 
       See Exhibit D on page 2 of this form.
       Corporation (includes LLC and LLP)
                                                                  Commodity                                       
                                                                                                                         Chapter 11
                                                                                                                                                             Chapter 15 Petition for
      Partnership
                                                                 
                                                                   Stockbroker
                                                                                                                   
                                                                                                                         Chapter 12                           Recognition of a Foreign
      Other (If debtor is not one of the above entities,
                                                                               Broker
                                                                  Clearing Bank
                                                                                                                         Chapter 13                           Nonmain Proceeding


                                                                  Other
       check this box and state type of entity below.)                                                                                        Nature of Debts
       ________________________                                                                                                                 (Check one box)
                                                                             Tax-Exempt Entity
                                                                           (Check box, if applicable)
                                                                                                                        Debts are primarily consumer
                                                                                                                         debts, defined in 11 U.S.C.
                                                                                                                                                                      Debts are primarily
                                                                                                                                                                       business debts.

                                                                 
                                                                                                                         § 101(8) as “incurred by an
                                                                       Debtor is a tax-exempt organization               individual primarily for a
                                                                       under Title 26 of the United States               personal, family, or house-
                                                                       Code (the Internal Revenue Code.)                 hold purpose.”
                               Filing Fee (Check one box)                                                                             Chapter 11 Debtors

  Full Filing Fee attached                                                                           Check one box:
                                                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
  signed
   Filing Fee to be paid in installments (applicable to individuals only). Must attach                 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
          application for the court's consideration certifying that the debtor is                     Check if:
     unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                       Debtor's  aggregate noncontingent liquidated debts (excluding debts owed to

  Filing
                                                                                                         insiders or affiliates) are less than $2 million.
          Fee waiver requested (applicable to chapter 7 individuals only). Must
   attach signed application for the court's consideration. See Official Form 3B.                     Check all applicable boxes
                                                                                                         A plan is being filed with this petition
                                                                                                         Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                          of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                          THIS SPACE IS FOR COURT USE ONLY
 
 
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 1-         50-        100-           200-         1,000-        5,001-      10,001-     25,001-        50,001-      Over

                                                                                    
 49         99         199            999          5,000         10,000      25,000      50,000         100,000      100,000



                          $10,000                  $100,000        $1$100million       More than $100 million
 Estimated Assets
     $0 to                          to                          to                   to
     $10,000                $100,000                  $1 million               million
 Estimated Liabilities
    $0 to
     $50,000               $50,000
                            $100,000
                                    to
                                                      $100,000
                                                       $1 million
                                                                 to
                                                                                  $1$100million to
                                                                                           million              More than $100 million
                    Case 07-12085                     Doc 1          Filed 04/06/07 Entered 04/06/07 15:17:27                                              Desc Main
Official Form 1 (10/06)                                                Document     Page 3 of 39                                                                             FORM B1, Page 2
Voluntary Petition                                                                               Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Sonja Brookins Santelises

                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
       Exhibit A is attached and made a part of this petition.                                     X /s Wendy Manz                                            4/6/2007
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Wendy Manz                                            543125
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

            Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                         Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.


                         There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                         Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                       Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                  (Check all applicable boxes.)


                         Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).


                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and


                         Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.
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Official Form 1 (10/06)                                               Document     Page 4 of 39                                                                       FORM B1, Page 3
Voluntary Petition                                                                            Name of Debtor(s):
  (This page must be completed and filed in every case)                                       Sonja Brookins Santelises

                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             I request relief in accordance with chapter 15 of Title 11, United States Code.
                                                                                                     Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).

 I request relief in accordance with the chapter of title 11, United States Code, specified
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                                                     Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                   order granting recognition of the foreign main proceeding is attached.

   X s/ Sonja Brookins Santelises                                                             X Not Applicable
       Signature of Debtor         Sonja Brookins Santelises                                      (Signature of Foreign Representative)

   X Not Applicable
       Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       4/6/2007                                                                                   Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X /s Wendy Manz                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)
                                                                                              defined in 11 U.S.C. § 110; (2) 1 prepared this document for compensation and have
                                                                                              provided the debtor with a copy of this document and the notices and information
      Wendy Manz, 543125                                                                      required under 11 U.S.C. §§110(b), 110(h), and 342(b); and, (3) if rules or
      Printed Name of Attorney for Debtor(s) / Bar No.                                        guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
                                                                                              fee for services chargeable by bankruptcy petition prepares, I have given the debtor
      Law Office of Wendy Manz                                                                notice of the maximum amount before preparing any document for filing for a debtor
                                                                                              or accepting any fee from the debtor, as required in that section. Official Form 19B
      Firm Name                                                                               is attached.
      5 Militia Drive Lexington, MA 02421
      Address                                                                                     Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
      Lexington, MA 02421

     (781) 863-1611                                                   (781) 863-1616              Social Security number(If the bankruptcy petition preparer is not an individual,
      Telephone Number                                                                            state the Social Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.)(Required by 11 U.S.C. 110.)
      4/6/2007
      Date

                  Signature of Debtor (Corporation/Partnership)                                   Address
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.                                                                                      X Not Applicable
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                                  Date
                                                                                                  Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
 X Not Applicable                                                                                 partner whose social security number is provided above.
     Signature of Authorized Individual
                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in
                                                                                                  preparing this document unless the bankruptcy petition preparer is not an
     Printed Name of Authorized Individual                                                        individual:

                                                                                                If more than one person prepared this document, attach additional sheets conforming
     Title of Authorized Individual                                                             to the appropriate official form for each person.

                                                                                                A bankruptcy petition preparer 's failure to comply with the provisions of title 11 and
      Date                                                                                      the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both
                                                                                                11 U.S.C. §110; 18 U.S.C. §156.
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FORM B6A
(10/05)

In re:   Sonja Brookins Santelises                                ,
                                                                                                                   Case No.
                                                                                                                                                 (If known)
                                             Debtor




                                     SCHEDULE A - REAL PROPERTY




                                                                               HUSBAND, WIFE, JOINT
                                                                                                                   CURRENT VALUE
                                                                                                                    OF DEBTOR'S




                                                                                 OR COMMUNITY
                                                                                                                     INTEREST IN
               DESCRIPTION AND                                                                                   PROPERTY, WITHOUT                      AMOUNT OF
                                                 NATURE OF DEBTOR'S                                                DEDUCTING ANY
                 LOCATION OF                                                                                                                             SECURED
                                                INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                                CLAIM
                                                                                                                    OR EXEMPTION




                                                                       Total                                                             0.00
                                                                                                      (Report also on Summary of Schedules.)
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FormB6B
(10/05)

In re      Sonja Brookins Santelises                                                                     Case No.
                                                                                          ,
                                                                                                                                             (If known)
                                                                     Debtor




                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT VALUE OF




                                                                                                                      OR COMMUNITY
                                                                                                                                             DEBTOR'S INTEREST
                                                                                                                                             IN PROPERTY, WITH-

                                                       NONE
                                                                              DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                     OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                                OR EXEMPTION




   1. Cash on hand                                            Cash                                                                                          100.00

   2. Checking, savings or other financial                    Checking Acct. #3613340                                                                     2000 avg.
      accounts, certificates of deposit, or                   Cambridge Trust
      shares in banks, savings and loan, thrift,
      building and loan, and homestead
      associations, or credit unions, brokerage
      houses, or cooperatives.


        Checking, savings or other financial                  Savings Acct. #                                                                               120.00
        accounts, certificates of deposit, or                 North Shore Bank
        shares in banks, savings and loan, thrift,
        building and loan, and homestead                      Peabody, MA
        associations, or credit unions, brokerage
        houses, or cooperatives.


        Checking, savings or other financial                  Savings Acct. #0095 1665 6386                                                                 150.00
        accounts, certificates of deposit, or                 Bank of America
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.


   3. Security deposits with public utilities,                Security deposit on premises at 700 Huron Avenue,                                             500.00
      telephone companies, landlords, and                     Cambridge, MA
      others.


   4. Household goods and furnishings,                        Furniture                                                                                    5,500.00
      including audio, video, and computer
      equipment.


   5. Books, pictures and other art objects,           X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.


   6. Wearing apparel.                                        Personal clothing                                                                            1,000.00

   7. Furs and jewelry.                                       Wedding rings                                                                                7,000.00

   8. Firearms and sports, photographic, and           X
      other hobby equipment.


   9. Interests in insurance policies. Name                   Term life policy through employer                                                                0.00
      insurance company of each policy and
      itemize surrender or refund value of
      each.


 10. Annuities. Itemize and name each                  X
     issuer.
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                                                                  Document     Page 7 of 39
Form B6B-Cont.
(10/05)

In re      Sonja Brookins Santelises                                                                    Case No.
                                                                                          ,
                                                                                                                                            (If known)
                                                                   Debtor




                                          SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                            CURRENT VALUE OF




                                                                                                                     OR COMMUNITY
                                                                                                                                            DEBTOR'S INTEREST
                                                                                                                                            IN PROPERTY, WITH-

                                                      NONE
                                                                             DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
              TYPE OF PROPERTY                                                     OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                               OR EXEMPTION




 11. Interests in an education IRA as defined         X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c); Rule
     1007(b)).


 12. Interests in IRA, ERISA, Keogh, or other                Boston Retirement Board                                                                     7,114.28
     pension or profit sharing plans. Give                   Boston City Hall, Rm. 816
     Particulars.
                                                             Boston, MA 02201
 13. Stock and interests in incorporated and                 200,000 shares                                                                              Unknown
     unincorporated businesses. Itemize.                     Deutsch Consulting, Inc.
                                                             700 Huron Avenue, #7D
                                                             Cambridge, MA 02138
        Stock and interests in incorporated and              Options Express                                                                               450.00
        unincorporated businesses. Itemize.                  39 S. LaSalle Street
                                                             Chicago, IL 60603
 14. Interests in partnerships or joint               X
     ventures. Itemize.


 15. Government and corporate bonds and               X
     other negotiable and nonnegotiable
     instruments.


 16. Accounts receivable.                             X

 17. Alimony, maintenance, support, and               X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 18. Other liquidated debts owed to debtor            X
     including tax refunds. Give particulars.


 19. Equitable or future interests, life estates,     X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.


 20. Contingent and noncontingent interests           X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
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Form B6B-Cont.
(10/05)

In re   Sonja Brookins Santelises                                                               Case No.
                                                                                  ,
                                                                                                                                    (If known)
                                                           Debtor




                                        SCHEDULE B - PERSONAL PROPERTY
                                                                    (Continuation Sheet)




                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                    CURRENT VALUE OF




                                                                                                             OR COMMUNITY
                                                                                                                                    DEBTOR'S INTEREST
                                                                                                                                    IN PROPERTY, WITH-

                                                  NONE
                                                                     DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
            TYPE OF PROPERTY                                               OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                       OR EXEMPTION




 21. Other contingent and unliquidated            X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 22. Patents, copyrights, and other               X
     intellectual property. Give particulars.


 23. Licenses, franchises, and other general      X
     intangibles. Give particulars.


 24. Customer lists or other compilations         X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining
     a product or service from the debtor
     primarily for personal, family, or
     household purposes.

 25. Automobiles, trucks, trailers, and other     X
     vehicles and accessories.


 26. Boats, motors, and accessories.              X

 27. Aircraft and accessories.                    X

 28. Office equipment, furnishings, and           X
     supplies.


 29. Machinery, fixtures, equipment and           X
     supplies used in business.


 30. Inventory.                                   X

 31. Animals.                                     X

 32. Crops - growing or harvested. Give           X
     particulars.


 33. Farming equipment and implements.            X

 34. Farm supplies, chemicals, and feed.          X

 35. Other personal property of any kind not      X
     already listed. Itemize.
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Form B6B-Cont.
(10/05)

In re   Sonja Brookins Santelises                                                       Case No.
                                                                           ,
                                                                                                                                    (If known)
                                                   Debtor




                             SCHEDULE B - PERSONAL PROPERTY
                                                            (Continuation Sheet)




                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                    CURRENT VALUE OF




                                                                                                             OR COMMUNITY
                                                                                                                                    DEBTOR'S INTEREST
                                                                                                                                    IN PROPERTY, WITH-

                                      NONE
                                                             DESCRIPTION AND LOCATION                                               OUT DEDUCTING ANY
          TYPE OF PROPERTY                                         OF PROPERTY                                                         SECURED CLAIM
                                                                                                                                       OR EXEMPTION




                                             3    continuation sheets attached                     Total                                        $ 21,934.28

                                                                                                       (Include amounts from any continuation sheets
                                                                                                       attached. Report total also on Summary of
                                                                                                       Schedules.)
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Form B6C
(10/05)

In re     Sonja Brookins Santelises                                                                  Case No.
                                                                                         ,
                                                                                                                             (If known)
                                                              Debtor



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:             Check if debtor claims a homestead exemption that exceeds
                                                                             $125,000.
(Check one box)
  11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                              VALUE OF                     CURRENT
                                                           SPECIFY LAW
                                                                                              CLAIMED                 VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                             EXEMPTION                WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                          EXEMPTION


Boston Retirement Board                     11 USC § 522(d)(10)(E)                                7,114.28                                7,114.28
Boston City Hall, Rm. 816
Boston, MA 02201
Cash                                        11 USC § 522(d)(5)                                      100.00                                 100.00
Checking Acct. #3613340                     11 USC § 522(d)(5)                                    2,000.00                               2000 avg.
Cambridge Trust
Furniture                                   11 USC § 522(d)(3)                                    5,500.00                                5,500.00
Options Express                             11 USC § 522(d)(5)                                      450.00                                 450.00
39 S. LaSalle Street
Chicago, IL 60603
Personal clothing                           11 USC § 522(d)(3)                                    1,000.00                                1,000.00
Savings Acct. #                             11 USC § 522(d)(5)                                      120.00                                 120.00
North Shore Bank
Peabody, MA
Savings Acct. #0095 1665 6386               11 USC § 522(d)(5)                                      150.00                                 150.00
Bank of America
Security deposit on premises                11 USC § 522(d)(5)                                      500.00                                 500.00
at 700 Huron Avenue,
Cambridge, MA
Wedding rings                               11 USC § 522(d)(4)                                    1,225.00                                7,000.00
                                            11 USC § 522(d)(5)                                    5,775.00
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Official Form 6D (10/06)

 In re Sonja Brookins Santelises                                                                       ,           Case No.
                                                 Debtor                                                                                                           (If known)


                SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                 Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                              HUSBAND, WIFE, JOINT
             CREDITOR'S NAME AND                                                                 DATE CLAIM WAS                                                    AMOUNT OF
                                                                                                                                                                                              UNSECURED




                                                                                                                                      UNLIQUIDATED
                                                                OR COMMUNITY
               MAILING ADDRESS                                                                  INCURRED, NATURE                                                  CLAIM WITHOUT




                                                                                                                         CONTINGENT
                                                   CODEBTOR
                                                                                                                                                                                              PORTION, IF




                                                                                                                                                     DISPUTED
           INCLUDING ZIP CODE AND                                                                  OF LIEN, AND                                                     DEDUCTING
             AN ACCOUNT NUMBER                                                                   DESCRIPTION AND                                                     VALUE OF                    ANY
            (See Instructions, Above.)                                                         VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                 SUBJECT TO LIEN


ACCOUNT NO.
                                                                                     __________________________
                                                                                     VALUE




 0      continuation sheets
        attached
                                                                                     Subtotal 
                                                                                     (Total of this page)
                                                                                                                                                                  $                 0.00 $                0.00
                                                                                     Total                                                                       $                 0.00 $                0.00
                                                                                     (Use only on last page)

                                                                                                                                                                (Report also on Summary of (If applicable, report
                                                                                                                                                                Schedules)                 also on Statistical
                                                                                                                                                                                           Summary of Certain
                                                                                                                                                                                           Liabilities and
                                                                                                                                                                                           Related Data.)
                  Case 07-12085               Doc 1         Filed 04/06/07 Entered 04/06/07 15:17:27                                 Desc Main
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Official Form 6E (10/06)

In re      Sonja Brookins Santelises                                                  ,                               Case No.
                                                              Debtor                                                                               (If known)


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

       Domestic Support Obligations

     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

       Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

       Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of
business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

       Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                    Case 07-12085               Doc 1         Filed 04/06/07 Entered 04/06/07 15:17:27                                 Desc Main
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Official Form 6E (10/06) - Cont.

In re      Sonja Brookins Santelises                                                   ,                                 Case No.
                                                                                                                                                    (If known)
                                                             Debtor

       Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

       Deposits by individuals

    Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or
household use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

       Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

       Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

       Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).


     * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                                      2 continuation sheets attached
                  Case 07-12085                 Doc 1                   Filed 04/06/07 Entered 04/06/07 15:17:27                                                                               Desc Main
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Official Form 6E (10/06) - Cont.


In re     Sonja Brookins Santelises                                                                                                                                             Case No.
                                                                                                                      ,                                                                                  (If known)
                                                                        Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                     (Continuation Sheet)

                                                                   Type of Priority: Taxes and Certain Other Debts Owed to Governmental
                                                                   U it




                                                                     HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                    DATE CLAIM WAS                                                                AMOUNT            AMOUNT         AMOUNT




                                                                       OR COMMUNITY




                                                                                                                                                    UNLIQUIDATED
                                                                                                                                       CONTINGENT
                                                        CODEBTOR




                                                                                                                                                                   DISPUTED
              MAILING ADDRESS                                                                     INCURRED AND                                                                 OF CLAIM        ENTITLED TO        NOT
            INCLUDING ZIP CODE,                                                                  CONSIDERATION                                                                                  PRIORITY      ENTITLED TO
           AND ACCOUNT NUMBER                                                                       FOR CLAIM                                                                                                 PRIORITY, IF
           (See instructions above.)                                                                                                                                                                              ANY



 ACCOUNT NO.      6191                                                                                                                                                         10,070.00         10,070.00            0.00
                                                                                            2004, 2005 income taxes
 Internal Revenue Service
 Andover, MA 05501-0102



 ACCOUNT NO.      6191                                                                                                                                                          3,117.00          3,117.00            0.00
                                                                                            2004, 2005 income taxes
 Massachusetts Department of Revenue
 100 Cambridge Street
 P.O. Box 9494
 Boston, MA 02214
 ACCOUNT NO.
                                                                                                                                                                               95,650.00         95,650.00            0.00
                                                                                            Student loans
 US Department of Education
 P.O. Box 530260
 Atlanta, GA 30353-0260




                                                                                                                                      Subtotals                      $
Sheet no. 2 of 2 continuation sheets attached to Schedule of                                                              (Totals of this page)
                                                                                                                                                                              108,837.00 $       108,837.00 $         0.00
Creditors Holding Priority Claims
                                                                                                                                     Total               
                                                                                              (Use only on last page of the completed
                                                                                              Schedule E. Report also on the Summary of
                                                                                                                                                                     $        108,837.00
                                                                                              Schedules.)
                                                                                                                                       Total             
                                                                                              (Use only on last page of the completed                                                      $    108,837.00 $          0.00
                                                                                              Schedule E. If applicable, report also on the
                                                                                              Statistical Summary of Certain Liabilities
                                                                                              and Related Data. )
               Case 07-12085                 Doc 1   Filed 04/06/07 Entered 04/06/07 15:17:27                                                                                    Desc Main
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Official Form 6F (10/06)
In re   Sonja Brookins Santelises                                                                                                     Case No.
                                                                                                           ,
                                                     Debtor                                                                                                              (If known)


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                 Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                 HUSBAND, WIFE, JOINT
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                                                                                    AMOUNT OF




                                                                   OR COMMUNITY




                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                            CONTINGENT
                 MAILING ADDRESS                                                                            INCURRED AND                                                                                       CLAIM




                                                      CODEBTOR




                                                                                                                                                                                              DISPUTED
               INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
              AND ACCOUNT NUMBER                                                                                CLAIM.
               (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                           SETOFF, SO STATE

ACCOUNT NO.       3725-425411-71006                                                                                                                                                                             26,500.00
 American Express Centurion Bank                                                          Merchandise, services and cash
 P.O. Box 297804                                                                          advances
 Ft. Lauderdale, FL 33329-7804



ACCOUNT NO.       3715-446608-52003                                                                                                                                                                            153,000.00
 American Express Centurion Bank                                                          Merchandise and services
 P.O. Box 297804
 Ft. Lauderdale, FL 33329-7804



ACCOUNT NO.       3717-256871-62001                                                                                                                                                                             68,000.00
 American Express Centurion Bank                                                          Merchandise and services
 P.O. Box 297804
 Ft. Lauderdale, FL 33329-7804



ACCOUNT NO.       4417-1211-6314-6197                                                                                                                                                                           22,255.00
 Chase VISA                                                                               Merchandise and services
 P.O. Box 15298
 Wilmington, DE 19850-5298




              0    Continuation sheets attached

                                                                                                                                                          Subtotal                                      $     269,755.00
                                                                                                                                                                   Total                                $     269,755.00
                                                                                                            (Use only on last page of the completed Schedule F.)
                                                                                        (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                               Summary of Certain Liabilities and Related Data.)
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Form B6G
(10/05)

In re:    Sonja Brookins Santelises                                                       Case No.
                                                                                 ,
                                                       Debtor                                                 (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

     Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                             DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                 NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.


  Herb Chambers Honda                                                     Lease of 2005 Honda Accord automobile

  Burlington, MA 01803



  Parkside Place                                                          One year lease on apartment at 700 Huron Avenue,
  700 Huron Avenue                                                        Cambridge, MA
  Cambridge, MA 02138
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Form B6H
(10/05)
In re:    Sonja Brookins Santelises                                          Case No.
                                                                      ,                          (If known)
                                                       Debtor


                                           SCHEDULE H - CODEBTORS
      Check this box if debtor has no codebtors.

                    NAME AND ADDRESS OF CODEBTOR                               NAME AND ADDRESS OF CREDITOR
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Official Form 6I (10/06)                                 Document     Page 18 of 39
 In re     Sonja Brookins Santelises                                               ,
                                                                                                       Case No.
                                                                   Debtor                                                           (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12 or 13 case whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Married
                                                RELATIONSHIP(S):                                                                AGE(S):
                                          Daughter
 Employment:                                            DEBTOR                                                      SPOUSE
 Occupation                     Asst. Superintendant
 Name of Employer               Boston Public Schools
 How long employed              1 year
 Address of Employer            26 Court Street
                                Boston, MA 02108
 Income: (Estimate of average or projected monthly income at time
               case filed)                                                                                  DEBTOR                        SPOUSE

 1. Monthly gross wages, salary, and commissions
      (Prorate if not paid monthly.)                                                              $               10,099.09 $
 2. Estimate monthly overtime                                                                     $                      0.00 $

 3. SUBTOTAL                                                                                      $               10,099.09     $
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                     $                1,695.76 $
                                                                                                  $                  135.89 $
         b. Insurance
         c. Union dues                                                                            $                    0.00 $
         d. Other (Specify)       Retirement                                                       $               1,060.95     $

                                  Savings                                                          $                 650.01     $

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                $                3,542.61 $
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                               $                6,556.48 $
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                              $                      0.00 $
 8. Income from real property                                                                     $                      0.00 $
 9. Interest and dividends                                                                        $                      0.00 $
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                            $                      0.00 $
 11. Social security or other government assistance
 (Specify)                                                                                        $                      0.00 $
 12. Pension or retirement income                                                                 $                      0.00 $
 13. Other monthly income
 (Specify)                                                                                        $                      0.00 $
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                               $                    0.00     $

 15. AVERAGE MONTHLY INCOME (add amounts shown on lines 6 and 14)                                 $                 6,556.48 $
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                          $ 6,556.48
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                               Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
             Case 07-12085           Doc 1   Filed 04/06/07 Entered 04/06/07 15:17:27   Desc Main
Official Form 6I (10/06) - Cont.              Document     Page 19 of 39
 In re   Sonja Brookins Santelises                           ,
                                                                       Case No.
                                                  Debtor                                  (If known)


         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 NONE
                  Case 07-12085                  Doc 1    Filed 04/06/07 Entered 04/06/07 15:17:27                                      Desc Main
                                                           Document     Page 20 of 39
Official Form 6J (10/06)
  In re    Sonja Brookins Santelises                                                                            Case No.
                                                                                        ,
                                                              Debtor                                                                     (If known)


                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Pro rate any payments
 made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

         Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
          expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                          $                     2,670.00
          a. Are real estate taxes included?       Yes                      No
       b. Is property insurance included?          Yes                      No
 2. Utilities: a. Electricity and heating fuel                                                                                  $                         0.00
                b. Water and sewer                                                                                              $                         0.00
                c. Telephone                                                                                                    $                        30.00
                d. Other Internet                                                                                               $                        60.00
 3. Home maintenance (repairs and upkeep)                                                                                       $                        35.00
 4. Food                                                                                                                        $                       400.00
 5. Clothing                                                                                                                    $                       150.00
 6. Laundry and dry cleaning                                                                                                    $                       100.00
 7. Medical and dental expenses                                                                                                 $                        30.00
 8. Transportation (not including car payments)                                                                                 $                       200.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                            $                       100.00
10. Charitable contributions                                                                                                    $                     1,000.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner’s or renter’s                                                                                   $                         0.00
                   b. Life                                                                                                      $                       150.00
                   c. Health                                                                                                    $                         0.00
                   d. Auto                                                                                                      $                       130.00
                   e. Other                                                                                                     $                          0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                      $                         0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                         $                         0.00
                b. Other Auto payment                                                                                               $                    275.00
 14. Alimony, maintenance, and support paid to others                                                                           $                         0.00
 15. Payments for support of additional dependents not living at your home                                                      $                         0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                               $                         0.00
 17. Other Child Care                                                                                                           $                        700.00
              Student loans                                                                                                     $                        290.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                            $                     6,320.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
             a. Average monthly income from Line 15 of Schedule I                                                                $                    6,556.48
             b. Average monthly expenses from Line 18 above                                                                      $                    6,320.00
             c. Monthly net income (a. minus b.)                                                                                 $                      236.48
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Official Form 6 - Summary (10/06)


                                                            United States Bankruptcy Court
                                                                 District of Massachusetts


In re   Sonja Brookins Santelises                                                       ,                    Case No.
                                                                Debtor
                                                                                                             Chapter      13

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E,
and F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data" if
they file a case under chapter 7, 11, or 13.




        NAME OF SCHEDULE                   ATTACHED         NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                        1        $                   0.00

 B - Personal Property                        YES                        4        $            21,934.28

 C - Property Claimed
     as Exempt                                YES                        1

 D - Creditors Holding                        YES                        1                                     $                     0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                        3                                     $             108,837.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        1                                     $               269,755.00
     Nonpriority Claims

 G - Executory Contracts and                  YES                        1
     Unexpired Leases

 H - Codebtors                                YES                        1

 I - Current Income of                                                                                                                          $            6,556.48
     Individual Debtor(s)                     YES                        2

 J - Current Expenditures of                  YES                        1
     Individual Debtor(s)                                                                                                                       $            6,320.00

                                                                       16         $           21,934.28        $           378,592.00
                                    TOTAL
              Case 07-12085         Doc 1      Filed 04/06/07 Entered 04/06/07 15:17:27                   Desc Main
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Official Form 6 - Statistical Summary (10/06)

                                              United States Bankruptcy Court
                                                 District of Massachusetts

In re   Sonja Brookins Santelises                                     ,
                                                                                     Case No.
                                                   Debtor                                       13
                                                                                     Chapter

          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

             Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


 Type of Liability                                              Amount
 Domestic Support Obligations (from Schedule E)                 $ 0.00
 Taxes and Certain Other Debts Owed to Governmental Units
                                                                $108,837.00
 (from Schedule E) (whether disputed or undisputed)

 Claims for Death or Personal Injury While Debtor Was           $ 0.00
 Intoxicated (from Schedule E)

 Student Loan Obligations (from Schedule F)                     $ 0.00
 Domestic Support, Separation Agreement, and Divorce
 Decree Obligations Not Reported on Schedule E.                 $ 0.00

 Obligations to Pension or Profit-Sharing, and Other Similar    $ 0.00
 Obligations (from Schedule F)

                                                   TOTAL        $ 108,837.00

State the following:

 Average Income (from Schedule I, Line 16)                      $ 0.00
 Average Expenses (from Schedule J, Line 18)                    $ 0.00

 Current Monthly Income (from Form 22A Line 12; OR, Form        $ 0.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF                                  $ 0.00
 ANY” column

 2. Total from Schedule E, “AMOUNT ENTITLED TO                  $ 0.00
 PRIORITY” column.

 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                 $ 0.00
 PRIORITY, IF ANY” column

 4. Total from Schedule F                                                          $ 0.00
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                      $ 0.00
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Official Form 6 - Declaration (10/06)

  In re Sonja Brookins Santelises                                                            ,                                 Case No.
                                                                Debtor                                                                                     (If known)



                            DECLARATION CONCERNING DEBTOR'S SCHEDULES
                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

   I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 18 sheets (total shown on
summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.

Date: 4/6/2007                                                                      Signature: s/ Sonja Brookins Santelises
                                                                                                  Sonja Brookins Santelises
                                                                                                                                Debtor
                                                                                   [If joint case, both spouses must sign]


        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                          (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
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                                                  OFFICIAL FORM 7
                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MASSACHUSETTS



In re
Sonja Brookins Santelises                                        Chapter               13
                                                                 Bankruptcy No.


         Debtor(s)


                                     DECLARATION RE: ELECTRONIC FILING
PART I - DECLARATION

         I   Sonja Brookins Santelises
hereby declare(s) under penalty of perjury that all of the information contained in my      (singly or jointly the
"Document"), filed electronically, is true and correct. I understand that this DECLARATION is to be filed with the
Clerk of Court electronically concurrently with the electronic filing of the Document. I understand that failure to file
this DECLARATION may cause the Document to be struck and any request contained or relying thereon to be
denied, without further notice.



         I further understand that pursuant to the Massachusetts Electronic Filing Local Rule (MEFR) 7(b), all paper
documents containing original signatures executed under the penalties of perjury and filed electronically with the Court
are the property of the bankruptcy estate and shall be maintained by the authorized CM/ECF Registered User for a
period of five (5) years after the closing of this case.



Dated:   4/6/2007
                                                  Signed:    s/ Sonja Brookins Santelises
                                                                                 (Affiant)
PART II - DECLARATION OF ATTORNEY: (IF AFFIANT IS REPRESENTED BY COUNSEL)


          I certify that the affiant(s) signed this form before I submitted the Document, I gave the affiant(s) a copy of the
Document and this DECLARATION, and I have followed all other electronic filing requirements currently established by
local rule and standing order. This DECLARATION is based on all information of which I have knowledge and my
signature below constitutes my certification of the foregoing under Fed R. Bankr.P. 9011. I have reviewed and will
comply with provisions of MEFR 7.


Dated: 4/6/2007
                                                  Signed:    /s Wendy Manz
                                                             Attorney for Affiant
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Form 7
(10/05)

                                                   UNITED STATES BANKRUPTCY COURT
                                                         District of Massachusetts

In re:    Sonja Brookins Santelises                                                            Case No.
                                                                            ,
                                                       Debtor                                                     (If known)




                                           STATEMENT OF FINANCIAL AFFAIRS

           1. Income from employment or operation of business
None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
          the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
           beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
           two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
           the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
           of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
           under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
           spouses are separated and a joint petition is not filed.)

           AMOUNT                           SOURCE                                         FISCAL YEAR PERIOD

           30,000.00                        Deutch Consutling, Inc.                        2005

           53,602.00                        Boston Public Schools                          2006

           11,599.98                        Harvard College                                2006

           2. Income other than from employment or operation of business
None
   
           State the amount of income received by the debtor other than from employment, trade,
           profession, or operation of the debtor's business during the two years immediately preceding the
           commencement of this case. Give particulars. If a joint petition is filed, state income for each
           spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
           each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)

           AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD


           3. Payments to creditors

           Complete a. or b., as appropriate, and c.
None
   
           a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
           goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement
           of this case if the aggregate value of all property that constitutes or is affected by such transfer is not less that
           $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
           creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either
           or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)
                                                                DATES OF                             AMOUNT                AMOUNT
           NAME AND ADDRESS OF CREDITOR                         PAYMENTS                             PAID                  STILL OWING
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Form 7-Cont.
(10/05)

None
   
         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within
         90 days immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is
         affected by such transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include
         payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
         separated and a joint petition is not filed.)
                                                                                                AMOUNT
                                                         DATES OF                               PAID OR               AMOUNT
                                                         PAYMENTS/                              VALUE OF              STILL
         NAME AND ADDRESS OF CREDITOR                    TRANSFERS                              TRANSFERS             OWING




None
   
         c. All debtors: List all payments made within one year immediately preceding the commencement of this case
         to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                    DATES OF                                                     AMOUNT
         AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID           STILL OWING




         4. Suits and administrative proceedings, executions, garnishments and attachments
None
   
         a. List all suits and administrative proceedings to which the debtor is or was a party within one year
         immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
         chapter 13 must include information concerning either or both spouses whether or not a joint petition is
         filed, unless the spouses are separated and a joint petition is not filed.)
         CAPTION OF SUIT                                                       COURT OR AGENCY                       STATUS OR
         AND CASE NUMBER                     NATURE OF PROCEEDING              AND LOCATION                          DISPOSITION




         b. Describe all property that has been attached, garnished or seized under any legal or equitable
         process within one year immediately preceding the commencement of this case. (Married debtors
         filing under chapter 12 or chapter 13 must include information concerning property of either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)
None
   
         NAME AND ADDRESS                                                                 DESCRIPTION
         OF PERSON FOR WHOSE                                   DATE OF                    AND VALUE OF
         BENEFIT PROPERTY WAS SEIZED                           SEIZURE                    PROPERTY
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         5. Repossessions, foreclosures and returns
None
   
         List all property that has been repossessed by a creditor, sold at a foreclosure sale,
         transferred through a deed in lieu of foreclosure or returned to the seller, within one year
         immediately preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include information concerning property of either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                             DATE OF REPOSSESSION,          DESCRIPTION
         NAME AND ADDRESS                                    FORECLOSURE SALE               AND VALUE OF
         OF CREDITOR OR SELLER                               TRANSFER OR RETURN             PROPERTY



         6. Assignments and receiverships
None
   
         a. Describe any assignment of property for the benefit of creditors made within 120 days
         immediately preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
         is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                            TERMS OF
         NAME AND ADDRESS                                      DATE OF                      ASSIGNMENT
         OF ASSIGNEE                                           ASSIGNMENT                   OR SETTLEMENT



         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
         within one year immediately preceding the commencement of this case. (Married debtors filing
         under chapter 12 or chapter 13 must include information concerning property of either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)
None
                                                 NAME AND ADDRESS                                           DESCRIPTION
         NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
         OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY


         7. Gifts
None          List all gifts or charitable contributions made within one year immediately preceding the
        commencement of this case except ordinary and usual gifts to family members aggregating less
         than $200 in value per individual family member and charitable contributions aggregating less
         than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
         or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
         are separated and a joint petition is not filed.)

         NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
         OF PERSON                                TO DEBTOR,                    DATE                         AND VALUE OF
         OR ORGANIZATION                          IF ANY                        OF GIFT                      GIFT


         Jubilee Christian Church                 Congregation                                              $6,000.00 in monthly
         1500 Blue Hill Avenue                                                                              increments during 2006
         Boston, MA
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         8. Losses

None
   
         List all losses from fire, theft, other casualty or gambling within one year immediately preceding
         the commencement of this case or since the commencement of this case. (Married debtors filing
         under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
         joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
         AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
         PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS

         9. Payments related to debt counseling or bankruptcy
None          List all payments made or property transferred by or on behalf of the debtor to any persons,
        including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
         or preparation of a petition in bankruptcy within one year immediately preceding the commencement
         of this case.
         NAME AND ADDRESS                                       DATE OF PAYMENT,             AMOUNT OF MONEY OR
         OF PAYEE                                               NAME OF PAYOR IF             DESCRIPTION AND VALUE
                                                                OTHER THAN DEBTOR            OF PROPERTY
         Garden State Consumer Credit Couns.                    4/2/07                        $50.00
         225 Willowbrook Road
         Freehold, NJ 07728

         Law Office of Wendy Manz                                                             3,500.00
         5 Militia Drive
         Lexington, MA 02421
         Lexington, MA 02421


         10. Other transfers
None     a. List all other property, other than property transferred in the ordinary course of the business or
        financial affairs of the debtor, transferred either absolutely or as security within two years
         immediately preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
         filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                     DESCRIBE PROPERTY
         NAME AND ADDRESS OF TRANSFEREE,                                                             TRANSFERRED
         RELATIONSHIP TO DEBTOR                                 DATE                                 AND VALUE RECEIVED

         Jackson A. Brookins
                                                               03/01/2007                           1996 Ford Taurus autombile
         3 Amy Road
                                                                                                    $2,855. value, no value
         Peabody, MA 01960
                                                                                                    received
            Father




None
   
         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
         to a self-settled trust or similar device of which the debtor is a beneficiary.

         NAME OF TRUST OR OTHER                                 DATE(S) OF                           AMOUNT OF MONEY OR DESCRIPTION
         DEVICE                                                 TRANSFER(S)                          AND VALUE OF PROPERTY OR DEBTOR'S
                                                                                                     INTEREST IN PROPERTY
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         11. Closed financial accounts
None
   
         List all financial accounts and instruments held in the name of the debtor or for the benefit of
         the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
         the commencement of this case. Include checking, savings, or other financial accounts,
         certificates of deposit, or other instruments; shares and share accounts held in banks, credit
         unions, pension funds, cooperatives, associations, brokerage houses and other financial
         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
         concerning accounts or instruments held by or for either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               TYPE OF ACCOUNT, LAST FOUR          AMOUNT AND
         NAME AND ADDRESS                                      DIGITS OF ACCOUNT NUMBER,           DATE OF SALE
         OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE         OR CLOSING


         12. Safe deposit boxes
None
   
         List each safe deposit or other box or depository in which the debtor has or had securities,
         cash, or other valuables within one year immediately preceding the commencement of this case.
         (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
         or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
         joint petition is not filed.)

         NAME AND ADDRESS                        NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
         OF BANK OR                              OF THOSE WITH ACCESS               OF                            OR SURRENDER,
         OTHER DEPOSITORY                        TO BOX OR DEPOSITORY               CONTENTS                      IF ANY


         13. Setoffs
None
   
         List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
         within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
         or chapter 13 must include information concerning either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF                                      AMOUNT OF
         NAME AND ADDRESS OF CREDITOR                                   SETOFF                                       SETOFF


         14. Property held for another person
None
   
         List all property owned by another person that the debtor holds or controls.
         NAME AND ADDRESS                                      DESCRIPTION AND VALUE
         OF OWNER                                              OF PROPERTY                         LOCATION OF PROPERTY


         15. Prior address of debtor
None
   
         If the debtor has moved within three years immediately preceding the commencement of this case, list all
         premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
         joint petition is filed, report also any separate address of either spouse.
         ADDRESS                                                        NAME USED                              DATES OF OCCUPANCY
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          16. Spouses and Former Spouses
None
   
          If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
          California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
          immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
          who resides or resided with the debtor in the community property state.
          NAME



         17. Environmental Information.
         For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
         hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
         including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
         formerly owned or operated by the debtor, including, but not limited to, disposal sites.

         "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
         hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

         a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
         that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
         date of the notice, and, if known, the Environmental Law.
None
   
         SITE NAME AND                              NAME AND ADDRESS                   DATE OF                     ENVIRONMENTAL
         ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                      LAW




          b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
          Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

None
   
          SITE NAME AND                       NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
          ADDRESS                             OF GOVERNMENTAL UNIT                 NOTICE                 LAW




          c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
          respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
          to the proceeding, and the docket number.
None
   
          NAME AND ADDRESS                          DOCKET NUMBER                                    STATUS OR
          OF GOVERNMENTAL UNIT                                                                       DISPOSITION
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          18. Nature, location and name of business
None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within the six years immediately preceding the commencement of this case,
          or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
          preceding the commencement of this case.

          If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
          and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
          the voting or equity securities, within the six years immediately preceding the commencement of this case.

          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
          equity securities within the six years immediately preceding the commencement of this case.
                                    LAST FOUR DIGITS
                                    OF SOC. SEC. NO./
          NAME                      COMPLETE EIN OR         ADDRESS                        NATURE OF BUSINESS        BEGINNING AND ENDING
                                    OTHER TAXPAYER                                                                   DATES
                                    I.D. NO.
          Deutch Consulting,        26-000520               700 Huron Avenue #7D           Data analysis,                11/01/2007
          Inc.                                              Cambridge, MA 02138            educational consulting
                                                                                                                         12/31/2006

          b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
          U.S.C. § 101.
None
   
          NAME                                                                      ADDRESS




                                                                   * * * * * *


    [if completed by an individual or individual and spouse]
    I declare under penalty of perjury that I have read the answers contained in the foregoing statement
    of financial affairs and any attachments thereto and that they are true and correct.

       Date 4/6/2007                                           Signature    s/ Sonja Brookins Santelises
                                                               of Debtor    Sonja Brookins Santelises
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                                                                                      
Official Form 22C (Chapter 13) (10/06)                                                According to the calculations required by this statement:


                                                                                      
                                                                                          The applicable commitment period is 3 years.
In re Sonja Brookins Santelises                                                             The applicable commitment period is 5 years.
                      Debtor(s)                                                            Disposable income is determined under § 1325(b)(3)
Case Number:
                      (If known)
                                                                                          Disposable income is not determined under § 1325(b)(3)
                                                                                       (Check the boxes as directed in Lines 17 and 23 of this statement.)

                           CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                     AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing
jointly. Joint debtors may complete one statement only.

                                                          Part I. REPORT OF INCOME

               
        Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

               
        a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
  1     b.       Married. Complete both Column A ("Debtor's Income") and Column B (Spouse's Income) for Lines 2-10.

        All figures must reflect average monthly income received from all sources, derived during the six calendar                Column A        Column B
        months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount of       Debtor's        Spouse's
        monthly income varied during the six months, you must divide the six-month total by six, and enter the result on           Income          Income
        the appropriate line.

  2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                            $ 10,099.09     $0.00

        Income from the operation of a business, profession or farm. Subtract Line b from Line a and
  3     enter the difference in the appropriate column(s) of Line 3. Do not enter a number less than zero. Do not
        include any part of the business expenses entered on Line b as a deduction in Part IV.
          a.       Gross Receipts                                                         $ 0.00
          b.       Ordinary and necessary business expenses                               $ 0.00
          c.       Business income                                                        Subtract Line b from Line a         $ 0.00          $0.00

        Rent and other real property income. Subtract Line b from Line a and enter the difference in the
        appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any part of the
        operating expenses entered on Line b as a deduction in Part IV.
  4      a.     Gross Receipts                                                         $ 0.00
          b.       Ordinary and necessary operating expenses                              $ 0.00
                                                                                                                              $ 0.00          $0.00
          c.       Rent and other real property income                                    Subtract Line b from Line a

  5     Interest, dividends, and royalties.                                                                                   $ 0.00          $0.00

  6     Pension and retirement income.                                                                                        $ 0.00          $0.00
  7     Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                               $ 0.00                                         $0.00
        expenses of the debtor or the debtor’s dependents, including child or spousal support.
        Do not include amounts paid by the debtor’s spouse.

        Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8. However, if
        you contend that unemployment compensation received by you or your spouse was a benefit under the Social
        Security Act, do not list the amount of such compensation in Column A or B, but instead state the amount in
  8     the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act              Debtor $                    Spouse $                        $               $

        Income from all other sources. Specify source and amount. If necessary, list additional sources on a
        separate page. Total and enter on Line 9. Do not include any benefits received under the Social Security Act
        or payments received as a victim of a war crime, crime against humanity, or as a victim of international or
        domestic terrorism.
  9
          a.                                                                          $
                                                                                                                              $ 0.00          $0.00

        Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 thru 9 in Column B.
  10    Enter the total(s).
                                                                                                                              $ 10,099.09     $0.00
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        Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter the total. If
        Column B has not been completed, enter the amount from Line 10, Column A.                                         $ 10,099.09
  11


                                Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD

  12    Enter the amount from Line 11.                                                                                                    $ 10,099.09

        Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that calculation of the
  13    commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse, enter the amount of the income      $ 0.00
        listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of you or your dependents.
        Otherwise, enter zero.

  14    Subtract Line 13 from Line 12 and enter the result.                                                                               $ 10,099.09
  15    Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and enter
        the result.                                                                                                                       $ 121,189.08
        Applicable median family income. Enter the median family income for applicable state and household size. (This
  16    information is available by family size at www.usdoj.gov/ust or from the clerk of the bankruptcy court.)
                                                                                                                                          $ 73,837.00
                                                MA
        a. Enter debtor’s state of residence: __________________________                                       3
                                                                         b. Enter debtor’s household size: ____________

        Application of § 1325(b)(4). Check the applicable box and proceed as directed.


  17
            The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years"
             at the top of page 1 of this statement and continue with this statement.


            The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5
             years" at the top of page 1 of this statement and continue with this statement.


                  Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME

  18    Enter the amount from Line 11.                                                                                                    $ 10,099.09

        Marital adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the income listed in
  19    Line 10, Column B that was NOT paid on a regular basis for the household expenses of you or your dependents. If you are
        unmarried or married and filing jointly with your spouse, enter zero.                                                             $         0.00
  20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                      $ 10,099.09

        Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
  21    enter the result.
                                                                                                                                          $ 121,189.08

  22    Applicable median family income. Enter the amount from Line 16                                                                    $ 73,837.00

        Application of § 1325(b)(3). Check the applicable box and proceed as directed.


  23
         The amount on Line 21 is more than the amount on Line 22.                         Check the box for “Disposable income is determined under §
             1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.

         The amount on Line 21 is not more than the amount on Line 22.                         Check the box for “Disposable income is not determined
             under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.



                            Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                            Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, clothing, household supplies, personal care, and miscellaneous. Enter
 24     “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable family size and income level. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                        $ 1,368.00

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
 25A    Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is available at
        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).
                                                                                                                                          $ 560.00
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        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
        Housing and Utilities Standards; mortgage/rent expense for your county and family size. (This information is available at
 25B    www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average Monthly Payments for any
        debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in Line 25B. Do not enter an
        amount less than zero.
         a.       IRS Housing and Utilities Standards; mortgage/rent expense         $ 1,489.00
         b.       Average Monthly Payment for any debts secured by home, if          $
                  any, as stated in Line 47.
         c.       Net mortgage/rental expense                                        Subtract Line b from Line a                             $ 1,489.00

        Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and 25B
        does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities Standards, enter any
 26     additional amount to which you contend you are entitled, and state the basis for your contention in the space below:


        Debtor's monthly rent includes utilities and parking in Cambridge                                                                    $

        Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
        expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and regardless of whether
        you use public transportation.


                                                                                                        
        Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are included as a
        contribution to your household expenses in Line 7.                             0         1          2 or more.
 27
        Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable number
        of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at www.usdoj.gov/ust/   $ 311.00
        or from the clerk of the bankruptcy court.)

        Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
        you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two vehicles.)

             1        2 or more.
        Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
 28     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments for any
        debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter the result in Line 28. Do not enter an
        amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs, First Car          $ 0.00
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                  as stated in Line 47.                                             $
         c.       Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a                             $ 0.00


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 28.
        Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
 29     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments for any
        debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter the result in Line 29. Do not enter an
        amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs, Second Car         $ 0.00
         b.       Average Monthly Payment for any debts secured by Vehicle 2,       $
                  as stated in Line 47
         c.       Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a                             $ 0.00

        Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal, state
 30     and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social security taxes, and     $ 1,695.76
        Medicare taxes. Do not include real estate or sales taxes.

        Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll deductions
 31     that are required for your employment, such as mandatory retirement contributions, union dues, and uniform costs. Do not
        include discretionary amounts, such as non-mandatory 401(k) contributions.
                                                                                                                                             $ 135.89

        Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term life
 32     insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for any other form
        of insurance.                                                                                                                        $ 150.00
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        Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to pay
 33     pursuant to court order, such as spousal or child support payments. Do not include payments on past due support
                                                                                                                                              $ 0.00
        obligations included in Line 49.

        Other Necessary Expenses: education for employment or for a physically or mentally challenged
 34     child. Enter the total monthly amount that you actually expend for education that is a condition of employment and for education
        that is required for a physically or mentally challenged dependent child for whom no public education providing similar services is   $ 0.00
        available.

        Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on childcare- such
 35                                                                                                                                           $ 700.00
        as baby-sitting, day care, nursery and preschool. Do not include other educational payments.

        Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health care
 36
        expenses that are not reimbursed by insurance or paid by a health savings account. Do not include payments for health
        insurance or health savings accounts listed in Line 39.                                                                               $ 30.00

        Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you actually
 37     pay for telecommunication services other than your basic home telephone service—such as cell phones, pagers, call waiting,
        caller id, special long distance, or internet service—to the extent necessary for your health and welfare or that of your
                                                                                                                                              $ 60.00
        dependents. Do not include any amount previously deducted.

 38     Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                                   $ 6,499.65

                                       Subpart B: Additional Expense Deductions under § 707(b)
                                 Note: Do not include any expenses that you have listed in Lines 24-37
        Health Insurance, Disability Insurance and Health Savings Account Expenses. List and total the average
        monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following categories.

         a.       Health Insurance                                            $ 0.00
 39
         b.       Disability Insurance                                        $
         c.       Health Savings Account                                      $
                                                                              Total: Add Lines a, b and c                                     $ 0.00

        Continued contributions to the care of household or family members. Enter the actual monthly expenses that
 40     you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of      $ 0.00
        your household or member of your immediate family who is unable to pay for such expenses. Do not include payments listed
        in Line 34.
        Protection against family violence. Enter any average monthly expenses that you actually incurred to maintain the
 41     safety of your family under the Family Violence Prevention and Services Act or other applicable federal law. The nature of these      $ 0.00
        expenses is required to be kept confidential by the court.

        Home energy costs. Enter the average monthly amount, in excess of the allowance specified by IRS Local Standards for
 42     Housing and Utilities, that you actually expend for home energy costs. You must provide your case trustee with                        $
        documentation demonstrating that the additional amount claimed is reasonable and necessary.


        Education expenses for dependent children under 18. Enter the average monthly expenses that you actually incur,
        not to exceed $125 per child, in providing elementary and secondary education for your dependent children less than 18 years of
 43     age. You must provide your case trustee with documentation demonstrating that the amount claimed is reasonable
        and necessary and not already accounted for in the IRS Standards.                                                                     $ 0.00

        Additional food and clothing expense. Enter the average monthly amount by which your food and clothing expenses
        exceed the combined allowances for food and apparel in the IRS National Standards, not exceed five percent of those combined
 44     allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must provide
        your case trustee with documentation demonstrating that the additional amount claimed is reasonable and
                                                                                                                                              $
        necessary.

        Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
 45     financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                           $ 1,000.00

 46     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                                           $ 1,000.00
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Official Form 22C (Chapter 13) (10/06) - Cont.                                                                                                            5

                                                  Subpart C: Deductions for Debt Payment

        Future payments on secured claims. For each of your debts that is secured by an interest in property that you own, list
        the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment. The Average Monthly
        Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months following the filing of the
        bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance required by the mortgage. If
        necessary, list additional entries on a separate page.
 47                     Name of Creditor                     Property Securing the Debt                 60-month Average Payment
         a.                                                                                             $
                                                                                                        Total: Add Lines a, b and c          $ 0.00
        Other payments on secured claims. If any of the debts listed in Line 47 are secured by your primary residence, a motor
        vehicle, or other property necessary for your support or the support of your dependents, you may include in your deduction
        1/60th of any amount (the “cure amount”) that you must pay the creditor in addition to the payments listed in Line 47, in order to
        maintain possession of the property. The cure amount would include any sums in default that must be paid in order to avoid
        repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
 48     separate page.
                       Name of Creditor                      Property Securing the Debt                  1/60th of the Cure Amount
         a.                                                                                             $
                                                                                                        Total: Add Lines a, b and c          $ 0.00

        Payments on priority claims. Enter the total amount of all priority claims (including priority child support and alimony
 49                                                                                                                                          $ 1,813.95
        claims), divided by 60.

        Chapter 13 administrative expenses. Multiply the amount in line a by the amount in line b, and enter the resulting
        administrative expense.

          a.     Projected average monthly Chapter 13 plan payment.                                 $
          b.     Current multiplier for your district as determined under schedules issued
 50              by the Executive Office for United States Trustees. (This information is
                 available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                 court.)                                                                           x    10.00
          c.     Average monthly administrative expense of Chapter 13 case
                                                                                                    Total: Multiply Lines a and b            $ 0.00

 51     Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                           $ 1,813.95

                                         Subpart D: Total Deductions Allowed under § 707(b)(2)

 52     Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46, and 51.                                          $ 9,313.60



                       Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

 53     Total current monthly income. Enter the amount from Line 20.                                                                         $ 10,099.09

        Support income. Enter the monthly average of any child support payments, foster care payments, or disability payments for
 54     a dependent child, included in Line 7, that you received in accordance with applicable nonbankruptcy law, to the extent              $
        reasonably necessary to be expended for such child.
        Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions made to qualified
 55     retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from retirement plans, as specified in § 362(b)(19).   $

 56     Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                               $ 9,313.60
        Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, and 56 and enter the result.
 57                                                                                                                     $ 9,313.60
 58     Monthly Disposable Income Under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.                                    $ 785.49


                                                Part VI. ADDITIONAL EXPENSE CLAIMS
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Official Form 22C (Chapter 13) (10/06) - Cont.                                                                                                         6
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of you
          and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I). If necessary,
          list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the expenses.
 59
                                                Expense Description                                                Monthly Amount
           a.                                                                                          $
                                                                    Total: Add Lines a, b, and c       $ 990.00


                                                             Part VII: VERIFICATION
          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
          both debtors must sign.)
   60              Date: 4/6/2007                               Signature: s/ Sonja Brookins Santelises
                                                                            Sonja Brookins Santelises, (Debtor)
                    Date: 4/6/2007                                     Signature:
                                                                                      ,   (Joint Debtor, if any)



          Income from all other sources (continued)


          Future payments on secured claims (continued)
                          Name of Creditor                    Property Securing the Debt                 60-month Average Payment

          Past due payments on secured claims (continued
                         Name of Creditor               Property Securing the Debt in Default             1/60th of the Cure Amount

          Other Expenses (continued)
                                                Expense Description                                                Monthly Amount
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(12/94)

                                                        UNITED STATES BANKRUPTCY COURT
                                                                  District of Massachusetts
In re:           Sonja Brookins Santelises                                                                            Case No.
                                                                                                                      Chapter        13
                                                   Debtor

                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $               3,500.00
          Prior to the filing of this statement I have received                                                                  $                  0.00
          Balance Due                                                                                                            $               3,500.00
2. The source of compensation paid to me was:

                 Debtor                                          Other (specify)
3. The source of compensation to be paid to me is:

                 Debtor                                          Other (specify)

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      [Other provisions as needed]
             None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                         CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 4/6/2007

                                                                         /s Wendy Manz
                                                                         Wendy Manz, Bar No. 543125

                                                                          Law Office of Wendy Manz
                                                                          Attorney for Debtor(s)
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                                  UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MASSACHUSETTS

     In re   Sonja Brookins Santelises                                     Case No.

             Debtor.                                                       Chapter    13


                                 STATEMENT OF MONTHLY NET INCOME


The undersigned certifies the following is the debtor's monthly income .

Income:                             Debtor
Six months ago                    $ 6,556.48
Five months ago                   $ 6,556.48
Four months ago                   $ 6,556.48
Three months ago                  $ 6,556.48
Two months ago                    $ 6,556.48
Last month                        $ 6,556.48
Income from other sources         $0
Total net income for six          $ 39,338.88
months preceding filing

Average Monthly Net               $ 6,556.48
Income

        Attached are all payment advances received by the undersigned debtor prior to the petition date, I declare
under penalty of perjury that I have read the foregoing statement and that it is true and correct to the best of my
knowledge, information, and belief.

Dated: 4/6/2007

                                                           s/ Sonja Brookins Santelises
                                                           Sonja Brookins Santelises
                                                                                Debtor
